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         RYAN THOMPSON· - VOL. II - AFTERNOON SESSION                  JOB NO. 1164890
         SEPTEMBER 06, 2024

    ·1· · · · · · ·UNITED STATES DISTRICT COURT

    ·2· · · · ·FOR THE SOUTHERN DISTRICT OF FLORIDA

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    ·6· HEAD KANDY LLC,· · · · · · · )
    · · · · · · · · · · · · · · · · ·)
    ·7· · · · · · · Plaintiff,· · · ·)
    · · · · · · · · · · · · · · · · ·)
    ·8· · vs.· · · · · · · · · · · · ) No.0:23-cv-60345-JB
    · · · · · · · · · · · · · · · · ·)
    ·9· KAYLA MARIE MCNEILL,· · · · ·)
    · · · · · · · · · · · · · · · · ·)
    10· · · · · · · Defendants.· · · )
    · · _____________________________)
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    14· · · · · · · · · ·AFTERNOON SESSION

    15· · · · · · · · · ·REMOTE PROCEEDING

    16· · · · · · · DEPOSITION OF RYAN THOMPSON

    17· · · · · · · ·Friday, September 6, 2024

    18· · · · · · · · · Tampa Bay, Florida

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    23· · · · Reported by:· Kelli R. Hopper, CSR No. 7172

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                                     EXHIBIT 6
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    ·1· · · · · · · · · · · APPEARANCES

    ·2

    ·3· For Plaintiff:· · Bartlett, Loeb, Hinds, Thompson &
    · · · · · · · · · · · Angelos
    ·4· · · · · · · · · · BY MS. CARSON SADRO
    · · · · · · · · · · · Attorney at Law
    ·5· · · · · · · · · · 101 Water Street
    · · · · · · · · · · · Suite 475
    ·6· · · · · · · · · · Tampa, Florida· 33602
    · · · · · · · · · · · (813) 223-3888
    ·7· · · · · · · · · · CarsonS@blhtlaw.com

    ·8

    ·9

    10

    11· For Defendants:· ·Law Office of Antonio L. Converse
    · · · · · · · · · · · BY MR. ANTONIO L. CONVERSE
    12· · · · · · · · · · Attorney at Law
    · · · · · · · · · · · 600 17th Street
    13· · · · · · · · · · Suite 2800 South
    · · · · · · · · · · · Denver, Colorado· 80202
    14· · · · · · · · · · (303) 228-9471
    · · · · · · · · · · · anthony@converselawgroup.com
    15

    16

    17

    18· The Videographer:· Matthew Paster

    19

    20· Also present:· Kayla McNeill
    · · · · · · · · · ·Brandi Webb
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2:56:01   ·1· Ms. McNeill.
2:56:01   ·2· · · BY MR. CONVERSE:
2:56:23   ·3· · · Q.· I believe you had said that you were
2:56:26   ·4· initially joking with Ms. McNeill about deleting
2:56:28   ·5· the account.
2:56:32   ·6· · · · · So did I understand you that the joking
2:56:41   ·7· transformed into an actual intent by the two of you
2:56:42   ·8· to delete the account?
2:56:44   ·9· · · A.· Yeah.· I believe in the text conversations
2:56:48   10· which you have, I believe -- I can't phrase
2:56:51   11· exactly, but I'm pretty sure it was like
2:56:54   12· Ms. McNeill kind of joked about, oh, I wish I could
2:56:56   13· just delete that account so they couldn't find
2:56:57   14· them.
2:56:58   15· · · · · And I think I said like, technically, I
2:57:01   16· think we could.
2:57:01   17· · · · · And then I don't know if there's
2:57:06   18· additional texts to that or -- but that -- that's
2:57:10   19· the route we ended up deciding to take.
2:57:17   20· · · Q.· And was it just that one charge that
2:57:23   21· Ms. McNeill expressed concern to you about Head
2:57:27   22· Kandy representatives finding?
2:57:29   23· · · A.· Yeah.· I think that the main concern was
2:57:32   24· that Hayzlee boutique charge.· I think it was quite
2:57:33   25· a large order.

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2:57:37   ·1· · · · · And I just remember her saying in explicit
2:57:41   ·2· term if she was -- if they were ever to find that,
2:57:45   ·3· then she would, for lack of better terms, be in
2:57:48   ·4· trouble.· And so the intent was to hide that
2:57:49   ·5· charge.
2:57:52   ·6· · · Q.· Did she tell you why she would be in
2:57:52   ·7· trouble?
2:57:54   ·8· · · A.· Because she knew that Head Kandy had paid
2:57:56   ·9· for that.
2:58:03   10· · · Q.· Do you know if Ms. McNeill ever reimbursed
2:58:06   11· electric for that purchase?
2:58:07   12· · · A.· I do not know.
2:58:14   13· · · Q.· And you said it was large.· Just to better
2:58:22   14· understand the -- what you mean by large, are we
2:58:23   15· talking over $10,000?
2:58:26   16· · · A.· I don't recall the exact amount.· I don't
2:58:29   17· think it was that large.· I think it was like a
2:58:31   18· couple thousand.· Maybe 2- or 3,000 is my
2:58:34   19· understanding.· I don't know for sure though.
2:58:44   20· · · Q.· And then there's a new paragraph on this
2:58:49   21· Exhibit 5 that we're looking at, and it states:
2:58:52   22· · · · · "Identification of customers of Head Kandy
2:58:55   23· · · · · who purchased hair care and related
2:59:00   24· · · · · products from Bo Stegall and his company."
2:59:04   25· · · · · Do you have any knowledge on that topic?

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3:36:25   ·1· your declaration, back on screen, and I want to
3:36:26   ·2· return it Paragraph Number 19.
3:36:28   ·3· · · · · Can you see that okay?
3:36:28   ·4· · · A.· Yes.
3:36:30   ·5· · · Q.· All right.· And when we were talking about
3:36:33   ·6· Paragraph 19 earlier, this is where you were
3:36:36   ·7· describing some of the personal work that
3:36:39   ·8· Ms. McNeill had you perform while you were working
3:36:40   ·9· for Head Kandy; right?
3:36:41   10· · · A.· Yeah.
3:36:43   11· · · Q.· And, Mr. Thompson, throughout your time
3:36:46   12· with Head Kandy, there were periods of time where
3:36:48   13· you worked both as an hourly employee; right?
3:36:49   14· · · A.· Yes.
3:36:51   15· · · Q.· And as a salaried employee?
3:36:51   16· · · A.· That's correct.
3:36:53   17· · · Q.· And those times that you were performing
3:36:56   18· personal services for Ms. McNeill, when did that
3:36:58   19· begin?
3:37:00   20· · · A.· Immediately.· I was doing personal errands
3:37:03   21· for her from the moment I started working for her
3:37:06   22· up until her departure in 2023.
3:37:08   23· · · Q.· So did it happen during the period of time
3:37:10   24· where you would have been both an hourly employee
3:37:13   25· and a salaried employee?

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3:37:13   ·1· · · A.· Yes.· That's correct.
3:37:17   ·2· · · Q.· And tell me what kind of personal services
3:37:21   ·3· or errands Ms. McNeill was having you perform?
3:37:24   ·4· · · A.· Yes.· So really depended on kind of the
3:37:26   ·5· timeframe, whether she was in town or not.· If she
3:37:29   ·6· would was in town it would have been stuff like
3:37:33   ·7· taking her kids to school or picking them up in the
3:37:35   ·8· afternoons, driving her to certain places.
3:37:38   ·9· · · · · When she was out of town, it would be like
3:37:43   10· going and paying water bills or going and paying a
3:37:43   11· bill.
3:37:47   12· · · · · I went and paid a bill one time in Buena
3:37:50   13· Vista, which is about a 30-minute drive, to a
3:37:51   14· lumberyard.
3:37:53   15· · · · · I delivered paperwork to a title company
3:37:55   16· for the sale of a spec home.
3:37:57   17· · · · · So there were lots of different errands
3:37:58   18· that I would have run.
3:38:01   19· · · Q.· Is that even an exhaustive list?
3:38:03   20· · · A.· No.
3:38:05   21· · · Q.· How many times or how frequently
3:38:09   22· throughout the month would Ms. McNeill have you
3:38:11   23· perform these errands for her?
3:38:11   24· · · A.· I would say --
3:38:12   25· · · · · MR. CONVERSE:· Objection.· Form.

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3:38:13   ·1· · · · · THE WITNESS:· I would say a couple times a
3:38:17   ·2· week.· It wouldn't be inappropriate for me to
3:38:18   ·3· assume that.
3:38:18   ·4· · · BY MS. SADRO:
3:38:20   ·5· · · Q.· Okay.· And when Ms. McNeill was directing
3:38:23   ·6· you to go on these errands, was that while you were
3:38:24   ·7· working for Head Kandy?
3:38:25   ·8· · · A.· Yes.
3:38:26   ·9· · · · · MR. CONVERSE:· Objection.· Form.
3:38:29   10· · · · · I'm sorry.· I know you guys have it down,
3:38:31   11· but I need time to object in-between.· Sorry.
3:38:34   12· · · · · THE WITNESS:· That's okay.
3:38:34   13· · · BY MS. SADRO:
3:38:38   14· · · Q.· During the time that you -- during hours
3:38:40   15· that you were working for Head Kandy?
3:38:41   16· · · A.· Yes.
3:38:48   17· · · Q.· Would they happen throughout the middle of
3:38:48   18· the day?
3:38:52   19· · · A.· Yeah.· It happened in the mornings, in the
3:38:55   20· afternoons, sometimes in the evenings.· It really
3:38:56   21· just depended on the day.
3:38:59   22· · · Q.· Is that -- earlier Mr. Converse was
3:39:02   23· talking to you about doing favors for your friends;
3:39:03   24· right?· Do you remember that?
3:39:04   25· · · A.· Yeah.

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3:39:06   ·1· · · Q.· Did the frequency that Ms. McNeill have
3:39:11   ·2· you perform services for just her, was that in your
3:39:14   ·3· opinion a favor for a friend?
3:39:18   ·4· · · · · MR. CONVERSE:· Objection.· Form.
3:39:21   ·5· · · · · THE WITNESS:· I would probably say that if
3:39:25   ·6· it were any other person and I was working a job, I
3:39:29   ·7· would not be performing the amount of errands or --
3:39:34   ·8· or favors as he stated for any other person.
3:39:34   ·9· · · BY MS. SADRO:
3:39:37   10· · · Q.· And the amount of time that you had to
3:39:41   11· spend working on Ms. McNeill's errands or personal
3:39:45   12· services, was that time taken away from the work
3:39:49   13· you were required to perform for Head Kandy?
3:39:50   14· · · A.· Yeah.
3:39:51   15· · · · · MR. CONVERSE:· Objection.· Form.
3:39:53   16· · · · · THE WITNESS:· Yeah.· I would -- I would
3:39:55   17· have to make up, you know, not make up time
3:39:58   18· specifically, but I would have to come back to
3:40:01   19· projects if I was working on something specific.
3:40:01   20· · · BY MS. SADRO:
3:40:07   21· · · Q.· All right.· Mr. Thompson, I want to talk
3:40:10   22· to you about another exhibit.
3:40:14   23· · · · · MS. SADRO:· Anthony, forgive me for a
3:40:17   24· moment.· I've forgotten which exhibit number it is.
3:40:18   25· There we are.· I landed on it.

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